
678 S.E.2d 230 (2009)
A. PERIN DEVELOPMENT COMPANY, LLC
v.
TY-PAR REALTY, INC.
No. 520P08.
Supreme Court of North Carolina.
June 17, 2009.
Martin L. White, Charlotte, for A. Perin Development Co.
*231 Allan W. Singer, Charlotte, for Ty-Par Realty.
Prior report: ___ N.C.App. ___, 667 S.E.2d 324.

ORDER
Upon consideration of the petition filed on the 21st of November 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, 1, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 17th of June 2009."
